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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                   :           CASE NO: 19-67578-pwb
                                         :
SHEENA BLACKWELL YOUNG, aka              :           CHAPTER 7
Sheena Young aka Sheena Nicole Blackwell :
aka Sheena Blackwell aka Sheena N        :           JUDGE BONAPFEL
Blackwell aka Sheena B Young             :
       Debtor(s)                         :

TRUIST BANK                              :
     Movant(s),                          :
                                         :
v.                                       :
                                         :
                                         :
SHEENA BLACKWELL YOUNG, aka              :
Sheena Young aka Sheena Nicole Blackwell :
                                                     CONTESTED MATTER
aka Sheena Blackwell aka Sheena N        :
Blackwell aka Sheena B Young             :
       Debtor(s)                         :
                                         :
S. GREGORY HAYS,                         :
       Trustee

         Respondents.

                                  NOTICE OF HEARING

        PLEASE TAKE NOTICE that Truist Bank has filed a Motion for Relief from Stay
and related papers with the Court seeking an order for Relief from Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the Motion at the following number: (toll-free number: 833-568-
8864; access code 161 794 3084 at 10:15 AM on August 16, 2023 in Courtroom 1401, in the
Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner Drive, SW,
Atlanta GA 30303.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all
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as determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,
U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta GA 30303.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.

 Dated:   June 19, 2023                  SIGNATURE        /s/ Ryan Starks
                                                          Ryan Starks
                                                          Bar No. 676512
                                                          Counsel for Movant
                                                          BROCK & SCOTT, PLLC
                                                          3825 Forrestgate Dr.
                                                          Winston-Salem, NC 27103
                                                          Telephone: (844) 856-6646
                                                          Facsimile: 704-369-0760
                                                          E-Mail: GABKR@brockandscott.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:
 SHEENA BLACKWELL YOUNG,
 aka Sheena Young aka Sheena Nicole
                                                       CASE NO. 19-67578-PWB
 Blackwell aka Sheena Blackwell aka
                                                       CHAPTER 7
 Sheena N Blackwell aka Sheena B
 Young
                     DEBTOR


                                 CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Motion For
Relief From Automatic Stay and notice of hearing using the Bankruptcy Court’s Electronic Case
Filing program, which sends a notice of this document and an accompanying link to this
document to the following parties who have appeared in this case under the Bankruptcy Court’s
Electronic Case Filing program:

S. Gregory Hays
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

E. L. Clark, Esq.
Bldg. 3
3300 Northeast Expwy.
Atlanta, GA 30341

Office of U.S. Trustee
75 Spring St.
362 Richard B. Russell Bldg.
Atlanta, GA 30303
US Trustee

        I further certify that on this day I caused a copy of this document to be served via United
States first class mail, with adequate postage prepaid, on the following parties set forth below at
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the address shown for each:

SHEENA BLACKWELL YOUNG
3304 QUICK WATER LANDING NW
KENNESAW, GA 30144


This 19th Day of June, 2023.

                                         /s/Ryan Starks
                                         Ryan Starks, GA Bar No. 676512
                                         Travis Menk, GA Bar No. 632610
                                         Attorney for Creditor
                                         BROCK & SCOTT, PLLC
                                         3825 Forrestgate Drive
                                         Winston Salem, NC 27103
                                         Telephone: (844) 856-6646
                                         Facsimile: (704) 369-0760
                                         E-Mail: GABKR@brockandscott.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                                         CASE NO: 19-67578

SHEENA BLACKWELL YOUNG, aka Sheena                                 CHAPTER 7
Young aka Sheena Nicole Blackwell aka
Sheena Blackwell aka Sheena N Blackwell aka
Sheena B Young
      DEBTOR(S)


TRUIST BANK
     MOVANT,

v.

SHEENA BLACKWELL YOUNG, aka Sheena
Young aka Sheena Nicole Blackwell aka
Sheena Blackwell aka Sheena N Blackwell aka                  CONTESTED MATTER
Sheena B Young
      DEBTOR(S)

S. GREGORY HAYS,
      TRUSTEE

         RESPONDENTS,

                   MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Truist Bank (hereinafter “Movant”), a secured creditor in the above-
captioned case, by and through counsel, Brock & Scott, PLLC, and moves this Court to enter an
order granting its request for relief from the automatic stay imposed by 11 U.S.C. § 362(a) :


         1.    On November 4, 2019, the Debtor, Sheena Blackwell Young, filed a petition with
the Bankruptcy Court for the Northern District of Georgia under Chapter 7 of Title 11 of the United
States Code.
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        2.      The Debtor holds title to the real property (hereinafter “Collateral”) described in
that Security Deed recorded in the Cobb County Clerk of Superior Court in Book 15180 at Page
3961 and recorded on August 25, 2014 (hereinafter “Security Deed”) with an address of 3304
Quick Water Landing NW, Kennesaw, Georgia 30144. A copy of the Security Deed is attached
hereto and is incorporated herein as Exhibit “A”.


        3.      Movant holds a Promissory Note secured by the Security Deed from the Debtor,
Sheena Nicole Blackwell, in the original principal amount of $220,924.00 and dated August 11,
2014 (hereinafter “Note”). A copy of the Note is attached hereto and incorporated herein as
Exhibit “B”.

        4.      The terms of the Note were amended by the attached loan modification agreement
entered into effective November 3, 2017. A copy of the loan modification is attached hereto and
incorporated herein as Exhibit “C”.


        5.      Truist Bank has the right to initiate and pursue the foreclosure of your loan because
Truist Bank is the holder of the Note or is otherwise authorized by the owner of the loan, pursuant
to state law, to foreclose.


        6.      The Debtor has scheduled the value of the Collateral at $265,000.00.


        7.      Upon information and belief, the approximate payoff, exclusive of legal fees and
expenses incurred in connection with the instant motion, due and owing to Movant as of June 7,
2023 is $217,922.88.



        8.      In addition to the other amounts due to Movant reflected in this Motion, as of the

date hereof, in connection with seeking the relief requested in this Motion, Movant has also
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incurred $950.00 in legal fees and $188.00 in costs. Movant reserves all rights to seek an award

or allowance of such fees and expenses in accordance with applicable loan documents and

related agreements, the Bankruptcy Code and otherwise applicable law.



       9.      The Debtor(s) has/have defaulted in the mortgage payments. Upon information and
belief, the amount of default, exclusive of fees and costs, is as follows:

                  7      Payments @             $            1,351.96 $                  9,463.72
                         (05/01/2019 - 11/01/2019)
                  14     Payments @             $            1,406.98 $                19,697.72
                         (12/01/2019 - 01/01/2021)
                  15     Payments @             $            1,443.92 $                21,658.80
                         (02/01/2021 - 04/01/2022)
                  6      Payments @             $            1,467.17 $                  8,803.02
                         (05/01/2022 - 10/01/2022)
                  8      Payments @             $            1,655.49 $                13,243.92
                         (11/01/2022 - 06/01/2023)
                         Suspense Balance @                              $               -371.27
                         Total Delinquency                               $             72,495.91

       10.     Cause exists for relief from the automatic stay. Direct mortgage payments are not
being made to Movant. As such, Movant’s interests are not adequately protected.


       WHEREFORE, Movant prays the Court as follows:


       1.      Modify the Automatic Stay of 11 U.S.C. § 362(a) to permit Movant to enforce its
security interest in the Collateral including but not limited to any non-bankruptcy remedies to
foreclose and obtain possession.
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        2.      Modify Rule 4001(a)(3) of the Bankruptcy Code so that it is not applicable in this
case and so Movant may immediately enforce and implement this order granting relief from the
automatic stay.


        3.      As an alternative to the relief prayed for above, grant adequate protection to Movant
for its interest in the Collateral.


        4.      That Creditor be entitled to recover its reasonable fees and expenses incurred in
connection with seeking the relief requested in this Motion.


        5.      Movant specifically requests permission to communicate with the Debtor(s) and
Debtor(s)’ counsel to the extent necessary to comply with applicable non-bankruptcy law; and


        6.      Grant Movant such other and further relief as the Court deems just and proper.



This 19th day of June, 2023.

                                               /s/Ryan Starks
                                               Ryan Starks, GA Bar No. 676512
                                               Travis Menk, GA Bar No. 632610
                                               Attorney for Creditor
                                               BROCK & SCOTT, PLLC
                                               3825 Forrestgate Drive
                                               Winston Salem, NC 27103
                                               Telephone: (844) 856-6646
                                               Facsimile: (704) 369-0760
                                               E-Mail: GABKR@brockandscott.com
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